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USDA                                           United States ID~partment of Agr1iculture
                                              Animal anti Plant Health lnspeclion Service

                                                      Inspection Report
PAMELA SELI..NER
TOMSELLNEA                                                               Customer Io· 5143
                                                                            Certificate· 42-C.0084
                                                                                   Site· 001
                                                                                    lOfA& P~l-49.../l SELLNER
CRICKET HOLLOW ZOO
1512 210TH STAEET
                                                                                   Type: ROUTINE INSPECTION
                                                                                   Date: Dec-<J8·20 11
MANCHESTER, lA. 52'057

2.40                  (b)      (2')                    IFIJEJPEAT
A'IITENDING ViEIERINAfiltAIN AJND ADEQUA.Te 'VETERINAJFfM'' CAiRE ~DEAJlEJFiiS· AND EXHIBITORS).
Each dealer otr exh"bitor shalll establish and maintain a. program of adequate veterinary care ~hal iooludes lhe use of
appii'<Jpriate me~hods to prevent, ccmlrol, diag;n~, and treat diseases and iniull'ies.

.AJ   leas~   four goats have excessively ltlng hQoves.

ExCllSsl.,.tJiy 1oog looovllS can caus.l pain and disccmfon to tllll goats. Further, II may calJS@ tho goats to alter lhelr
stance Qf their gait and create mu:sa..~loskelelal related issoos.

The goals must have tfleir hooves trimmed to remove the excessive growth and mamtained routinely.
3.1                   (a)
HOUS1NG FAOIUTlES, GENERAL.
Housir)Q facilities lor dogs must be designed and oonstrueled so lhal ttley are strucmrally sound. They must be kept
in ~od repair, and ttley mu~ pro~ect lhe animals. kom injury.

There is 8 ~eotion of ctmin link fenoe placed on IQJJ of the dog encrosLJre. This has a tarp over il and it acts as 8 suo
s.ore-E:~n and w~~!l her break. TIM s.upport rail towards 1M canler oJ the enc:IO:Sure has broken Mt11M unit bOll/$ into
1he enclosure. This ls not slructuralty sound.

11his poses a physical h.a:zatd Ill ~he dogs.

Tlhi$ sun and weather br~eak must be repaired or rep.1acecl so as to prO'U1id'e a structurally soulild envirQnmen1. T<J· be
c:crteeled by: Dooember 2.7. 2011.
3.1 0                                                               IDI RECT NCI
WATERING.
li potable wmer is not continually available to the dogs. it must be offered to the dogs as often as nooessary to ensure
their healtt1 and •.uellhbeing, but not less ttlar~ twice daily f<Jr at least 1 hour each time, unless restri~ed by lhe
altend.flg vetetlnartan. WaJm rOC(lptaclcs must be ~<apr cJoan and sanitized In
                                                          - - - - - - - - -


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                                            CYNTHLt.. NElS . C.S .
Pre~red         By:
                            CYNTHIA. M NElS, A C I           USDA, APHIS, Animal Care                           Date:
        Title:              AN IMAL CARE INSPECTOR           Inspector   1~1                                    Dec-1 0·2011

Rece1ved By:
                                                                                                                Date·:
                                                                                                                  EXHIBIT 8 PAGE 0001
        T1itfle:                                                                                                Dec-16·20,11
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                                        Animal and Plant Health lnspeclion Serlllice

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accordance with Sec. 3.11 (b) of this subpart.

The waJer roooptacls was empty and. wnon watot'ed by tho faclltty. tho dogs drank vigorously returning lntermmenuy
to drink during ttle ·nspe~ion . It Yras reported that the dogs are watered one time per day. Furttler, the water
tecep13Cie had an excessive presence of dirt ana d""btis in it

This does not provide for lhe health and well being oS the dogs.

The dogs must be offered water at least twice daily for atleasl an hour each time In clean water rece:ptade(s). To be
oorreaed: Immediately.
3.56             (a)      ('1)                    REJPEA'i
SAlNirTAJION.
Cleaning ol' ptrimary enclosures. Primary ooclosures shall be l<..ept reas.ona"ly free ol e)laela, hair. cobw-ebs and
o~her clebria, by periodic: c;l'ea.ning1
                                       .

Tille lfabbit enclosures have an excessive accumulation of animal wasle aoo hair in them.

This can Increase disease r1sks, odor lllVels, and 100 prllSence of pesls.

The enol~res mus1 be cleatled and maintained M a regul3r basis.
3.75             (e)                             REPEAT
HOUSJNG FACIU11ES. GENERAL.
Storage. Supplies of 1ood afld bedding must be stored in a manner that protects the supplies ~rom spoilage.
oontaminl\tion, and vermin infestation. The ~upplies must be stored oH the tJoor a.ncl away rrom lhe walls, to allow
dean.ng ulldorooath and around ltx: supplloo. Food rsqulrlng rmr.gGtralion muS1 oo stored accort::fingly. and all food
musl be stored m a manner that prevents oontamination and delerioraoon of its nutritive value. Only the food and
bedcli~ cutr.:onlly being used may M kep1 in animal areas, artd when Mt in ac.tual use, open rood aM tledding
suppl'!fls must b8 lwptln leakptoof oorttalrlBfS wlrh tightly fitting lids to pret~&(lt spoilage and conlamlootlon.

11here oonli.nLJes to be ()Slen boxes of pmcluee in bolh of ~he nonhurt1an primate houslog areas Mel eefuca:lional
renter.

T\hls does not protecm 'l tl9 foodst;utr.s from spoilage and ootltamlnatioo anct does not en~re LM anima1s are raoeirving
wholesome foodstuffs. It ca.n also increase the preseooe of pesls and v·ermin.

Th9 foodstuifs must oo stored in a mannQr which protods II ftom oon1aml(la1lon, spoila,gB, and Vflrmln lflfos~ardon. All
food storage areas shall be maintained on a regular !basis.




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Rece1ved By:
                                                                                                  Date·:
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3.84                (b)      (2)
CLEANING. SANIT1ZATION, HOUSEKEEPING, AND PEST CON'TROL.
Indoor primary enclosures must be sanitized at least ortee r:Nery 2 weeks and as often as necessary to p rever~t an
exce$$ive a.QCumul~tion o1 cfirt debris, waste, foOd waste, excrefa, or cftSease hazard, using one of the m~l lloc.is
prescnlloo In paragraph (b)(:3) of tl'\ls ooctlon.

There is an exoe:ssrw:~ pres4:1r.oe 01 clirt, detlns, and animal o.ls ptassnl    01n   IM endlost~re wa Is otltle nMfluman
primams housed Ill tho HJJltllo building.

Tlhi:s can lnore.asa diS£~ase risks, odor leval:s, atJcllhe presanoe   ~~   pests.

Tthe endlosures must be cleane(l anrJ sanitized. To be oorrecle(l by: Deooember 27, 201 1.
3 . 1 25~           (a)
IFACILITIES, GIENERAJL
Scmcturral smrength . The facll"rty musl be oonstmcted of SJJJch material and of soch strength as appropriate for the
animals involved. The irndoor and outckloi houSing facili1tes sh~ll be structurally eounrJ and s.hall be mail'll:ained in
good l9pa r to pro1cct tho animals from Injury and ro conlaln too animals.

• "Tflete is a gap betwean 1li'le letJce arid blie grou:nel •n Sal'll:a Cruz sheep enclosure leaving wires exposed a1 lhe
bottom Wool was observed on the boltom of the let~ca whllm the sheep had been crawling under it Into the adjacent
empty eflCiosvre. Thefe are other areas ol the fence tllat are in general disrepair.

These situallons pose physical hazards to the animals.

The   rena~     must be repaltad or raplaoetJ. ToM corrected by: AprU30, 2012.

•••Two enclosures hoiJs.ing ~igers are approximately 10.67 feet high and do not have toP5 or adeq1.1ate kic:k-ine. The
faclltty has arootod kick In s~ppottslposts bum havg, not coooocrad thQm wllh \l','iro or chairl link.

Tlhe endiOStJres ara not s.ultiolent to COititain the animals.

Tlhe endlosures must be a1tererJ so that they have a top or are of suflicient lheighl al'ld con slruc~ion to contain the
1igers hou:sacl wj~hln ·ltJern. To I:Ja ccu't·e01ad by: Jufla 12, 21012_

3.127               (c)
!FACILITIES, OUITDOO R.
Drninag~e     A suitable melhod sllall be provided to rapidly elimi nate ewcess water.

The enclastJro housi ng the Scotllsh Hlghlandor crutla has an aocumtJiatloo of water and mud around rho wrum tan:k
and the hay feeding area The caltle mtJS~ stand in the mud in order to drink and walk through
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                                                                                                          Date·:
                                                                                                            EXHIBIT 8 PAGE 0003
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it lo get to lhe hay Also, because the drainage is not sufficient, the rest of he groond in the endosUTe has lrozen in
an uneven man11er. The cat11e h.ave no even surface on which tney c~n lie and have resorted to lying on 1tleir h.ay.
This does not provide for Clle comfort and well being of the animals. Standing in mud and water can cause noo'
problems.

The erlCIOStJre must be altered 1o s.o as allow for rapid drainage of water. To be corrected by; April 30, 2() 12.


3.129             (b)
IFEIEDING.
Food, and ~ood ~eceptacle.s, if used, shall be placed so as 1:0 minimille oootamination. 11·setf-feeders are used.
atlequate mea.sures shall be 'taken lo prevent l'ilOldingt, ·c~ntamii"E!Cion , anti ole1erioralj0n or caking ·of tOQCi.

A sh€ep was obsell"'lecl s.1'anding on the moolld of hay in 'ltle hay le€der. The   Soo~~ish   Highlander cat11e were
CJbsaM:Jd lyJng on .all'ld sle.ncJing in lheir hay.

This can conlarniooCe llle food supt;~l)' for tile animafs.

The hay musJ be supp41ed In a manner whlctl prevents the animals from standing and lying oo it. To be corrected by:
January 30, 2012.

3.131             (a)                               REPEAT
SANITATJON.
Cleaning of enclosures Excreta shall be removed from primary endosure.s as often as necessary to prevent
oontami.ne.tion ol the animals oorttained ltlerein and to minimize disease tlazards and to reduce oc:lo~.

The erldlostJre hous·ng Sasha and Keitlaran (ligers) andllne Emclosure oousing JOf'lWah and Kamaran (lions) have an
exc~!>:!>:iveo aocumuLation 01 animal w.aste. The .armadillo, the porcupine., and lheo kinka;ou enciO&H'es have. an
excessive pr8Senc& of an mal wasle. There Is an exoosslve bUild up of lood and animal wast& around the feeder In
the loor norned sheep encrosure.

Trhls can Increase disease risks, ooor levels, and pest levels.

lihe endiCkS.tlres must be cleaned and maintained oo a regul\ar basis.

3.131             (d)                               IREJPEAT
SAINITATlON.
Pest con1Jol. A. safe and effective program for the control of insects, ectopaJasite.s, and avian and mammalian pests
s.hall be esta.blrShed and mainlained.
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                                                                                                       Date·:
                                                                                                         EXHIBIT 8 PAGE 0004
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There are s.ome enclosures that are in need of cteaning in the educatiOf'lal oenter. Also, large Quantities of open and
urnefrlgerated produco am being stor~d .n the educational oonter. GJ'iOO tho lcmperature of lhe fad ry and the two
aforementiorled situations, there is an exoessive presence oi flies and fruit lies

This can Increase d1sease risks and does not provide for rho comfort and well being of th& animals.

An elfective 'lly and fruit •ly ce>nlrol program ~hall b& tteveiOfled ancl .mplemented. It shall gi-w OOt"'Sidetalion ro
sanltallon, waste dasposal, and food storal])e.
3.132                                                  REJPEA''Ii
EMPLOYEES.
A sufficient numl:Jer of adequately trained employees shall be utililled lo maintain the pmlessiona.Jiy acc~pJable level
oE husbandry prac'lioee se1' rorttJ in 1lhie subpart. SI!.IICh pracljoes shall be under a super,..isor who has a b~;tekgroundl in
animal care.

llhe 1acih1y cnvners conlinue 1o haYe lhe same outside YI'Ork obl~artiiOns .al'lld have 11'10 acJdi1ional employees. TM
ctJrrent Inspection Jepollt oomonstralll.S ilbal. th(8 work load conllnues to llK.OBOO the staffing level.

Tl'li:s cb3s nol. provide   fa~   lhe health aM w.euM:ing of the .animals.

The staffing level must be increased to in~ude additi0f1a1 adequately !rained employees•'voi\Jnteers Oli lhe         ~mbers of
animals shall be decreased unW such polnt the prosanl starr can aocoromodate the neads of tne a111mah:s.

This inspection and a thorough elCit review was QOnducted in tile presence of the undersignetJ license holder, the
VeteMary Mod cal Off1100r from ICWI'a, and II'Ml unoors.gnsd lnspoctor. Anothot ex II rovlaw was co:ndueloo In tne
presence of the undersigned lioell5€ ll<Jider and the undersigned inspector when signatures were obtained,

End of report.




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Rece1ved By:
                                                                                                        Date·:
                                                                                                           EXHIBIT 8 PAGE 0005
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